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                                                                      November 28, 2022


VIA ELECTRONIC FILING
The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:    Aretha Crosson v. Verve Labs, Inc.
       Case No. 22-cv-6173-BMC

Dear Judge Cogan:

         We represent the Plaintiff in the above-referenced matter. This is a website accessibility
case where defendant has a physical location (a store in NYC). An Initial Status Conference is
scheduled for November 30, 2022 at 10:15 a.m. Defendant was served on October 18, 2022 and
has failed to respond. On November 17, 2022, I reached out to Defendant by email to see what
their intentions were and notified them of the Initial Conference and the requirement to file
documents in advance of the conference. Defendant advised me that they were not aware of the
lawsuit and on November 27, 2022 advised me that they are looking for counsel to represent
them. Defendant refuses to participate in the preparation of a Joint Letter or Case Management
Plan.

       Plaintiff respectfully requests that the Initial Conference be adjourned for two weeks to
allow Defendant to retain counsel. In the event that Defendant fails to retain counsel prior to the
adjourned date, Plaintiff proposes to submit a Request for Default on or before December 30,
2022.

       Thank you for your consideration.

                                                        Respectfully submitted,
                                                        /s/Dan Shaked
                                                        Dan Shaked, Esq.

cc: Sayyid Markar for Defendant (by email)
